        Appellate Case: 21-4128     Document: 40        Date Filed: 07/06/2022      Page: 1
                    UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT
                                Byron White United States Courthouse
                                          1823 Stout Street
                                      Denver, Colorado 80257
                                           (303) 844-3157
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Christopher M. Wolpert                                                               Jane K. Castro
Clerk of Court                                                                   Chief Deputy Clerk
                                         July 06, 2022


Mr. Andrew Grimm
Digital Justice Foundation
15287 Pepperwood Drive
Omaha, NE 68154

RE:         21-4128, Greer v. Moon, et al
            Dist/Ag docket: 2:20-CV-00647-TC

Dear Counsel:

The appendix received in the subject case does not comply with the form requirements of
10th Cir. R. 30.1(D). Specifically:

    •     Pagination of the appendix must start with the cover page. See 10th Cir. R.
          30.1(D)(1). Page number 2 will start at the table of contents.
    •     Volumes 1 and 2 still do not contain bookmarks. See 10th Cir. R. 25.3, 10th Cir.
          R. 30.1(D), and the 10th Circuit CM/ECF User's Manual at Section III G (page
          19). The bookmarks must adequately identify the pleadings. See 10th Cir. R. 25.3,
          10th Cir. R. 30.1(D), and the 10th Circuit CM/ECF User's Manual at Section III G
          (page 19). Bookmarks should clearly identify the district court docket number, the
          pleading name, and the date of filing in the district court (for example: 10
          Response to Motion: 2/10/2013).

As a reminder, if the corrections made to the appendix affect citations in the brief, a
revised brief with corrected appendix citations will need to be submitted.

You must file a proper electronic appendix within three days of the date of this notice. Do
not file paper copies of your appendix and brief until the court has received the corrected
electronic appendix and issued notice it is compliant.

The time to file a response brief will run from the date of service of the appendix.
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Please contact this office if you have questions.

                                            Sincerely,



                                            Christopher M. Wolpert
                                            Clerk of Court




CMW/mlb
